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                Exhibit A
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                                              FIRM RESUME
                     1
Robbins Arroyo LLP is a nationally recognized shareholder rights law firm dedicated to the prosecution of
shareholder derivative and class action lawsuits. We are committed to the principle that the directors and
managers of publicly traded corporations must be held accountable to the owners of the enterprise – the
shareholders. A leader in corporate governance reform, Robbins Arroyo LLP has worked with individual and
institutional shareholders to improve board oversight, legal compliance, transparency, and responsiveness at
more than 120 Fortune 1000 companies. The firm has also helped secure several of the largest monetary
recoveries in the history of shareholder derivative litigation, and has helped clients to realize more than
$1 billion of value for themselves and the companies in which they have invested. For its achievements, the
firm has received numerous accolades, including recognition from U.S. News & World Report, which named
the firm a Best Law Firm for 2018 and 2017, Daily Journal, which named the firm a 2015 Top 25 Boutique in
California, the Legal 500, which named the firm a Leading Firm in Merger and Acquisition Litigation in 2013-
2018, the National Law Journal, which included the firm on its 2012 Litigation Boutiques Hot List, and ISS's
Securities Class Action Services, which has listed the firm among the nation's top shareholder plaintiffs' firms.
Ten of Robbins Arroyo LLP's attorneys were honored as Super Lawyers or Rising Stars in 2018. In addition,
Robbins Arroyo LLP's co-founder, Brian J. Robbins, is featured in Best Lawyers in America for Securities
Litigation (2016-2018), in San Diego Business Journal as Best of the Bar (2014-2016), and in The Daily
Transcript as a Top Attorney (2015).

PRACTICE AREAS

In addition to representing individual and institutional investors in shareholder derivative actions, securities
fraud class actions, and securities class actions arising out of mergers and acquisitions, initial public offerings,
and going private transactions, Robbins Arroyo LLP's practice includes antitrust actions, Employee Retirement
Income Security Act (ERISA) actions, whistleblower actions under the Dodd-Frank Wall Street Reform and
Consumer Protection Act and the False Claims Act, and consumer class actions.

LEADERSHIP

Robbins Arroyo LLP's experienced attorneys provide skilled representation to clients through all phases of
complex litigation. The firm's partners include former federal prosecutors, defense counsel from top corporate
law firms, in-house counsel from leading financial institutions, and career shareholder rights litigators.
Collectively, they have litigated hundreds of cases in nearly every state, serving in numerous court-appointed
leadership roles in complex multi-jurisdictional litigation. They currently serve as lead or co-lead counsel in
dozens of cases nationwide. The firm's attorneys are supported by investigators, corporate research analysts,
client relations specialists, and legal support professionals, each of whom is dedicated to providing exceptional
client service. Our talented team has helped secure significant results for our clients. We feature below some
of the firm's achievements across the nation.

       Pirelli Armstrong Tire Corp. Ret. Med. Benefits Trust v. Hanover Compressor Co., No. H-02-
        0410 (S.D. Tex. Feb. 6, 2004): Shareholders of Hanover Compressor Company, now known as
        Exterran Holdings Inc., a provider of natural gas compression services operating in the United States
        and select international markets, brought claims on behalf of the company against company officers
        and directors for breach of fiduciary duty, waste of corporate assets, abuse of control, and gross
        mismanagement. The claims arose out of an off-balance-sheet joint venture to build and operate a
        natural gas processing plant on barges off the coast of Nigeria. Robbins Arroyo LLP attorneys,
        serving as lead negotiators for derivative plaintiffs, secured extraordinary results for Hanover. First,
        Robbins Arroyo LLP achieved for the company approximately $57.4 million in compensation –
        consisting of a $26.5 million payment and the return of 2.5 million shares valued at approximately
        $30.9 million by an entity controlled by certain of the individual defendants. Second, Robbins Arroyo

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 "Robbins Arroyo LLP" and "the firm" herein collectively refer to the firm's previous names of Robbins Umeda
LLP and Robbins Umeda & Fink, LLP.
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       LLP helped secure corporate governance changes at the company that have been noted as
       "groundbreaking" and "unprecedented" benefits for Hanover, including the appointment of two
       shareholder-nominated directors and becoming one of the first companies in the United States to
       commit to implementing a five-year rotation rule for its outside audit firms.

      In re Nicor, Inc. S'holder Derivative Litig., No. 02 CH 15499 (Ill. Cir. Ct.-Cook Cnty. Mar. 29, 2005):
       The firm served as co-lead counsel for plaintiffs who brought claims for breach of fiduciary duty and
       unjust enrichment against several officers and directors of Nicor, Inc., one of the largest natural gas
       distributors in the United States. Plaintiffs alleged that Nicor's management made material
       misrepresentations to and omitted material information from the Illinois Commerce Commission and
       the company's shareholders and customers, and unlawfully manipulated the company's operating
       results. Robbins Arroyo LLP attorneys negotiated and secured personnel changes among Nicor’s
       executive officers and board members, as well as $33 million for Nicor.

      In re OM Group, Inc. Derivative Litig., No. 1:03-CV-0020 (N.D. Ohio Nov. 10, 2005): The firm
       served as lead counsel to plaintiffs in this derivative action arising out of a massive accounting fraud at
       this global solutions provider and specialty chemical manufacturer. During the litigation, our attorneys
       opposed and defeated defendants' motions to dismiss, reviewed thousands of documents produced
       during discovery, conducted expert discovery, and took over forty depositions of witnesses and
       defendants throughout the United States and Europe. Robbins Arroyo LLP obtained a settlement that
       included a $29 million payment to the company, the termination of the company’s chief executive
       officer, the addition of two shareholder-nominated directors, and the implementation of various other
       beneficial corporate governance procedures at the company.

      Lieb v. Unocal Corp., No. BC331316 (Cal. Super. Ct.-L.A. Cnty. Dec. 20, 2005): Robbins Arroyo LLP
       served as co-lead counsel for the public shareholders of Unocal Corporation in this securities class
       action against Unocal and several of its insiders, officers, and directors for self-dealing and breach of
       fiduciary duty in connection with the proposed sale of Unocal to Chevron Corporation. Plaintiffs
       alleged that Unocal's management failed to obtain the highest share price reasonably available by
       tailoring the proposed acquisition terms to meet the specific needs of acquirer Chevron, and by
       discouraging alternative bids. After obtaining broad expedited discovery, the firm was credited for
       helping Unocal shareholders to realize $500 million in additional consideration as a result of Chevron's
       increased bid of $17.4 billion. The firm also secured supplemental proxy statement disclosures before
       Unocal shareholders voted on whether to accept Chevron's bid over a nominally higher bid by the
       Chinese National Offshore Oil Corporation.

      In re Titan, Inc. Sec. Litig., No. 04-CV-0676-LAB (NLS) (S.D. Cal. Dec. 20, 2005): The firm served
       as co-lead counsel in this securities fraud class action against The Titan Corporation and certain of its
       officers and directors for violations of Sections 10(b) and 20(a) of the Securities Exchange Act of 1934
       and breach of fiduciary duty. Robbins Arroyo LLP's efforts resulted in a recovery of $61.5 million for
       Titan's shareholders.

      In re Tenet Healthcare Corp. Derivative Litig., No. 01098905 (Cal. Super Ct.-Santa Barbara Cnty.
       May 5, 2006), aff'd, No. B192252 (Cal. App. Sept. 20, 2007): The firm served as co-lead counsel for
       the plaintiffs, who alleged that Tenet Healthcare Corp.'s top executives breached their fiduciary duties
       to the company by failing to monitor, investigate, and oversee Tenet's patient procedures, Medicare
       billing, and accounting practices. After prosecuting the case for over three years, Robbins Arroyo
       LLP's attorneys negotiated a comprehensive settlement, which included $51.5 million in cash
       contributions to Tenet and sweeping corporate governance reforms and other remedial measures
       designed to ensure the independence and accountability of the company’s board of directors. The
       new governance regime included separation of the positions of chief executive officer and chairman of
       the board of directors, strict internal financial controls, enhanced guidelines for stock ownership and
       stock retention, and a comprehensive insider trading policy. The settlement was upheld on appeal.

      In re Qwest Sav. & Inv. Plan ERISA Litig., No. 02-cv-00464 (D. Colo. Jan. 29, 2007): Robbins


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       Arroyo LLP served on plaintiffs' executive committee in a class action brought as a civil enforcement
       suit for ERISA violations.       The employees alleged that Qwest’s management repeatedly
       misrepresented the financial status of the company to its employees to encourage employees to make
       discretionary investments in Qwest common stock. When the truth about Qwest’s financial condition
       and egregious accounting manipulations was revealed, the price of Qwest common stock plummeted,
       but employees were restricted from selling their retirement fund shares under the terms of the Qwest
       Savings & Investment Plan. When the restriction was lifted, Qwest stock was trading at an all-time low,
       devastating the employees' retirement funds. After years of contentious litigation, Robbins Arroyo LLP
       helped achieve a $37.5 million settlement for the benefit of the employees who had invested in the
       retirement plan.

      Staehr v. Walter, No. 02-CVG-11-0639 (Ohio Ct. C.P.-Del. Cnty. Dec. 17, 2007) (hereinafter Cardinal
       Health): Robbins Arroyo LLP led the charge in derivative litigation on behalf of the plaintiff who brought
       claims against certain Cardinal officers and directors arising out of Cardinal's proposed stock-for-stock
       acquisition of Syncor International Corp. The action forced Cardinal to reduce the previously
       negotiated acquisition price for Syncor, saving the company millions of dollars. During the course of
       its work on the Syncor transaction, Robbins Arroyo LLP and other firms discovered that Cardinal
       insiders had engaged in a massive revenue inflation scheme to fraudulently overstate the company's
       financial performance. Robbins Arroyo LLP filed an amended complaint against several of Cardinal's
       officers and directors, defeated multiple motions to dismiss, and pursued and reviewed millions of
       pages of documents in discovery. The firm ultimately negotiated and resolved the matter by obtaining
       $70 million for the company—among the largest monetary recoveries ever in a shareholder derivative
       action. The settlement also required Cardinal's board of directors to implement significant corporate
       governance and internal accounting controls designed to improve the board's oversight of Cardinal's
       senior management and to prevent recurrence of the alleged accounting manipulations.

      In re Juniper Networks, Inc. Derivative Litig., No. 1:06-CV-064294 (Cal. Super. Ct.-Santa Clara
       Cnty. Dec. 4, 2008): Robbins Arroyo LLP served as co-lead counsel in this state shareholder
       derivative suit against several officers and directors of Juniper Networks, Inc., a global networking and
       communications technology company, for breach of fiduciary duty, abuse of control, gross
       mismanagement, waste of corporate assets, unjust enrichment, insider selling, accounting, and
       rescission in connection with a stock option backdating scheme. After extensively prosecuting the
       case, the firm helped secure substantive corporate governance reforms and the forfeiture of more than
       $22 million in stock options to the company from four executives and directors of the board.

      In re KB Home S'holder Derivative Litig., No. 2:06-CV-05148-FMC (CTx) (C.D. Cal. Feb. 9, 2009):
       Robbins Arroyo LLP served as co-lead counsel for the plaintiffs, who alleged that insiders of KB
       Home, Inc., a prominent builder of single family homes in the United States and France, manipulated
       their stock option grant dates to misappropriate millions of dollars in illicit compensation. Robbins
       Arroyo LLP's efforts helped return nearly $50 million in value to the company, including a cash
       payment of over $31 million. In addition, the firm helped KB Home secure corporate governance
       enhancements and implement remedial measures, including separation of the chairman of the board
       and chief executive officer positions; declassification of the board of directors; majority voting for
       elections to the board; adoption of formal written procedures for the grant of stock options; and limits
       on future executive severance payments, among others.

      Overby v. Tyco Int'l Ltd., No. 02-CV-1357-B (D.N.H. Nov. 23, 2009): Robbins Arroyo LLP represented
       a class of employees of Tyco International Ltd., the largest electronics security provider in the world,
       when employees brought claims against the company for ERISA violations. Robbins Arroyo LLP
       helped obtain a $70 million settlement for the beneficiaries of Tyco's defined contribution retirement
       plan.

      In re Brocade Communications Systems, Inc. Derivative Litigation, No. 1:05CV041683 (Cal.
       Super. Ct.-Santa Clara County Jan. 28, 2010): Robbins Arroyo LLP represented plaintiffs in this
       shareholder derivative action against officers and directors of Brocade Communications Systems, Inc.,

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       an industry leader in data center networking solutions, following the announcement that Brocade
       would have to restate two fiscal years of financial statements to correct its improper accounting for
       stock-based compensation expenses. For years, Brocade’s insiders had engaged in a secret stock
       option backdating scheme designed to reward executives and recruit engineers with stock options
       priced below their fair market value as of the date of the grants. Robbins Arroyo LLP successfully
       petitioned the court to proceed with litigation to prevent an inadequate settlement of a related federal
       action, which would have released the officers, directors, and agents of the company responsible for
       the criminal backdating scheme for no money to the company nor a payment of attorney’s fees, even
       as the U.S. Government pursued and ultimately won criminal convictions against the responsible
       executives. After almost three years of diligently prosecuting the case, during which Robbins Arroyo
       LLP engaged in extensive motion practice, reviewed approximately three million pages of documents,
       and marshaled evidence from related cases involving the conduct at Brocade, Brocade's Special
       Litigation Committee retained Robbins Arroyo LLP to serve as its co-counsel, and, after presentations
       from Robbins Arroyo LLP, authorized the continued prosecution of claims against Brocade’s officers
       and directors and on behalf of the shareholders.

      In re PETCO Animal Supplies, Inc. S'holder Litig., No. GIC 869399 (Cal. Super. Ct.-San Diego
       Cnty. Mar. 26, 2010): Robbins Arroyo LLP served as co-lead counsel to the public shareholders of
       PETCO Animal Supplies, Inc., in a class action that sought to enjoin PETCO's insiders, directors, and
       affiliates from consummating any sale of PETCO unless and until the company implemented a
       procedure to ensure that PETCO's shareholders received the highest possible price for the sale. Over
       the course of three years, our attorneys engaged in extensive motion practice and document, expert,
       and witness discovery. Shortly before the case went to trial, Robbins Arroyo LLP assisted in achieving
       a settlement that secured a $16 million settlement fund for the class.

      In re Wireless Facilities, Inc. Derivative Litig., No. 04-CV-1663-JAH-(NLS) (S.D. Cal. Mar. 30,
       2010): The firm served as co-lead counsel in the derivative action on behalf of an independent
       provider of security systems engineering for the wireless communications industry and, after more
       than five years of hard fought litigation, achieved a comprehensive settlement that required certain
       officers to forfeit significant amounts of stock and/or stock options back to the company, restricted
       voting rights for certain former officers and directors, secured monetary reimbursement to the
       company, and implemented a number of important changes to the company's corporate governance,
       such as the addition of two independent directors to the board and an annual review of the chairman's
       performance.

      In re Am. Int'l Group, Inc. Derivative Litig., No. 04 Civ. 8406 (DLC) (S.D.N.Y. Mar. 14, 2011): The
       firm was appointed lead counsel in the consolidated federal action alleging breach of fiduciary duty
       claims in connection with a bid-rigging scheme with Marsh & McLennan Companies, Inc., sham
       reinsurance transactions with General Re Corporation, and other activities intended to falsify American
       International Group, Inc.’s ("AIG") financial results. As part of a global settlement of the derivative
       claims on AIG's behalf, Robbins Arroyo LLP helped secure a $90 million payment to AIG, one of the
       largest monetary recoveries in the history of shareholder derivative actions.

      Kloss v. Kerker, No. 50-2010-CA-018594-XXXX-MB (Fla. Cir. Ct.-Palm Beach Cnty. May 27, 2011):
       Robbins Arroyo LLP worked with the parties to derivative litigation filed on behalf of the Internet's
       leading vitamin and supplement retailer, Vitacost.com, Inc., to save the $158 million market cap
       company from bankruptcy and to preserve the equity interests of its shareholders. Robbins Arroyo
       LLP was instrumental in achieving a settlement that enabled the company to bring its financial
       statements and Security and Exchange Commission ("SEC") filings current; allowed Vitacost to hold a
       long overdue shareholder meeting to address fundamental defects in the corporation's formation,
       board composition, and past stock issuances; and helped the company to persuade NASDAQ to lift its
       trading moratorium and provide the company and its shareholders access to the capital markets. The
       firm worked with the company's new board of directors to implement a series of corporate governance
       best practices, including a robust insider trading policy. Vitacost hired Robbins Arroyo LLP to evaluate
       and potentially to prosecute the company's claims against other parties relating to the defects in its


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       formation, stock issuances, and other pre-IPO issues.

      Martinez v. Toll (Toll Bros., Inc.), No. 2:09-cv-00937-CDJ (E.D. Pa. Mar. 27, 2013); Pfeiffer v. Toll,
       No. 4140-VCL (Del. Ch. Mar. 15, 2013): Robbins Arroyo LLP represented shareholders in the Toll
       Brothers, Inc. shareholder derivative litigation in which plaintiffs alleged that certain company officers
       and directors, including the co-founders, traded on inside information and grossly misled investors
       about company earnings projections during a housing market downturn. After four years of
       contentious litigation, the firm helped secure one of the largest Brophy (Brophy v. Cities Serv. Co., 70
       A.2d 5 (Del. Ch. 1949)) settlements ever, a $16.25 million cash payment to the luxury homebuilding
       company. The settlement included a $6.45 million payment from the executive directors—an
       unprecedented result in shareholder litigation of this type.

      Cook v. McCullough, No. 1:11-cv-09119 (N.D. Ill. Jan. 28, 2014): Robbins Arroyo LLP served as co-
       lead counsel in shareholder derivative litigation arising out of Career Education Corp.'s alleged
       publication of false statements regarding job placement and student loan repayment rates, and failure
       to ensure compliance with Title IV regulations. The firm played a leading role in negotiating the global
       resolution of a series of actions brought against and on behalf of the company, and helped secure a
       $20 million recovery and comprehensive board and management-level corporate governance and
       oversight reforms for Career Education, including enhanced compliance and whistleblower policies,
       new director independence standards, improved executive compensation claw-back provisions, a
       comprehensive director education and employee training program, and an improved regulatory risk
       management and disclosure regime.

      Espinoza v. Zuckerberg, C.A. No. 9745-CB (Del. Ch. Mar. 30, 2016): Robbins Arroyo LLP served as
       counsel in shareholder derivative litigation on behalf of Facebook, Inc. arising from the alleged award
       of unfair excessive compensation by the board of directors to its non-employee members. Certain
       members of Facebook's board of directors attempted to circumvent corporate law procedures to obtain
       controlling stockholder approval of compensation awarded by the Board to its non-employee
       members. After deposing Facebook's Chief Executive Officer Mark Zuckerberg and beating a motion
       for summary judgment, Robbins Arroyo LLP convinced Facebook to impose corporate governance
       reforms designed to ensure the Board awards executive compensation fairly and not to the detriment
       of the company, including allowing stockholders to vote on non-employee directors' compensation. As
       such, Robbins Arroyo LLP helped established that public companies with controlling stockholders
       must comply with corporate law procedures.

      In re Venoco, Inc. S'holder Litig., C.A. No. 6825-VCG (Del. Ch. Oct. 5, 2016): Robbins Arroyo LLP
       served as co-lead counsel to the public shareholders of Venoco, Inc. in this class action arising out of
       a scheme by the energy company's Chief Executive Officer to buy out Venoco's minority shareholders
       at an inadequate share price. Robbins Arroyo LLP conducted extensive fact and expert discovery for
       two years after the closing of the acquisition. During this time, Venoco foundered due to a decline in
       the price of oil, a burst pipeline, and additional debt from the acquisition, which ultimately led the
       company to file for bankruptcy. Amidst the company's demise, the firm achieved a settlement fund of
       $19 million for shareholders—a significant recovery in light of Venoco's dire financial circumstances.
       The court noted that this settlement represented a 5.2% increase in the consideration received by the
       shareholders over the $12.50 share price in the merger consideration, an increase greater than recent
       settlements of this type. At the final approval hearing, the Honorable Sam Glasscock III, Vice
       Chancellor, in the Court of Chancery of the State of Delaware, touted the settlement as a "good result
       for all" and "very fortunate for the class," and noted Robbins Arroyo LLP as "excellent counsel."
       Transcript of Proceeding at 19, 22, In re Venoco, Inc. S'holder Litig., C.A. No. 6825-VCG (Del. Ch.
       Oct. 5, 2016).

      In re Fifth Street Finance Corp. Shareholder Derivative Litigation, Lead Case No. 3:15-cv-01795-
       RNC (D. Conn. Dec. 13, 2016): Robbins Arroyo LLP served as lead counsel in shareholder derivative
       litigation brought on behalf of Fifth Street Finance Corp. to challenge alleged conflicts of interest in
       Fifth Street's relationship with its investment advisor, FSAM. Plaintiffs alleged that certain Fifth Street


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       and FSAM officers and directors caused Fifth Street to make reckless investments, use bogus
       accounting, and pay excessive fees to inflate FSAM's perceived value in the lead up to FSAM's initial
       public offering. The firm's settlement negotiations resulted in advisory fee reductions worth at least
       $30 million and comprehensive corporate governance, oversight, and conflicts management
       enhancements.
      In re Community Health Systems, Inc. Shareholder Derivative Litig., No. 3:11-cv-00489 (M.D.
       Tenn. Jan. 20, 2017): Serving as co-lead counsel against the officers and directors of Community
       Health, Inc. in shareholder derivative litigation alleging that the fiduciaries systematically steered
       patients into medically unnecessary inpatient admissions when they should have been treated as
       outpatient, Robbins Arroyo LLP was instrumental in obtaining what is believed to be the largest
       shareholder derivative recovery in the Sixth Circuit to date. After five years of contentious litigation
       and discovery, defendants agreed to settle the case, which included a $60 million cash payment to
       Community Health and the implementation of extensive corporate governance reforms, including
       board modifications to ensure director independence, improved internal disclosure policies to allow for
       the confidential reporting of suspected violations of healthcare laws, and the establishment of a
       Trading Compliance Committee to ensure compliance with Community Health's insider stock trading
       policy, among others.

      In re Saba Software, Inc. Stockholder Litig. C.A., No. 10697-VCN (Del.Ch.Sept. 26, 2018): Robbins
       Arroyo LLP served as lead counsel in this shareholder class action in the Delaware Chancery Court
       against the officers and directors of Saba Software, Inc. for breaches of fiduciary duties related to the
       buyout of Saba by Vector Capital Management. Plaintiffs alleged that because the company was
       facing mounting financial concerns, including delisting by the U.S. Securities and Exchange
       Commission and a failure to complete its internal review of the accounting treatment of certain
       international transactions, defendants chose to sell the company in a flawed and self-serving sales
       process in exchange for inadequate merger consideration of Saba shareholders. After three and a
       half years of litigation, including extensive discovery, mediation, and a lengthy settlement negotiation
       process, defendants agreed to pay Saba's former shareholders $19.5 million. In approving the
       settlement, Vice Chancellor Slights called Robbins Arroyo's representation of the class "exemplary"
       and touted the settlement as a "strong recovery for the class."
Awards & Recognition
For its achievements, Robbins Arroyo LLP and our attorneys have received numerous accolades, including:

      Best Law Firm, U.S. News & World Report (2017-2018)
      Leading Firm in Merger and Acquisition Litigation, Legal 500 (2013-2018)
      Top 20 Settlements in California (2017)
      Top 25 Boutique Law Firm in California, Daily Journal (2015)
      Litigation Boutiques Hot List, National Law Journal (2012)
      Among Top Shareholder Plaintiffs' Firms by ISS's Securities Class Action Services
      10 attorneys named to Super Lawyer lists (2018)
      Top 50 Attorney in San Diego, Super Lawyers (2018) (George C. Aguilar, Brian J. Robbins)
      Top 50 Attorney in San Diego, Super Lawyers (2017) (George C. Aguilar)
      Top 50 Attorney in San Diego, Super Lawyers (2016) (George C. Aguilar, Felipe J. Arroyo, Brian J.
       Robbins)
      Top 50 Attorney in San Diego, Super Lawyers (2014) (Brian J. Robbins)
      Best Lawyers in America for Securities Litigation, Best Lawyers (2016-2018) (Brian J. Robbins)
      Best of the Bar, San Diego Business Journal (2016) (Brian J. Robbins, Jenny L. Dixon)
      Top Attorney, The Daily Transcript (2015) (Brian J. Robbins)
      Best Overall Lawyer in San Diego, Fine Magazine (2016) (Brian J. Robbins)
      Attorney of the Year, SD La Raza (2014) (George C. Aguilar)




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Robbins Arroyo LLP's achievements in the courtroom have been recognized by a number of respected jurists.
We feature a selection of commendations below.

      "The quality of representation by the Derivative Plaintiffs' Counsel was witnessed first hand by this
       Court through their articulate, high quality, and successful pleadings. Moreover, as shown by their
       excellent efforts in this case, Derivative Plaintiffs’ Counsel are dedicated to vindicating the rights of
       shareholders …."

       Honorable Ed Kinkeade, Judge of the U.S. District Court for the Northern District of Texas, In re
       Heelys, Inc. Derivative Litig., No. 3:07-CV-1682-K

    "I think you've actually set the bar kind of high for future settlements. This looks like an excellent result
      for the various class members in both the derivative action and the other action.... And it's to the credit
      of the lawyers that they were able to achieve this result before a lot of discovery and a lot of expenses
      were undertaken ... And so, I would be quite delighted and satisfied to make the necessary findings
      that this is an excellent settlement for plaintiffs."

       Honorable Robert S. Lasnik, Judge of the U.S. District Court for the Western District of Washington,
       In re Cutter & Buck Sec. Litig., No. C02-1948L

      Robbins Arroyo LLP's lawyers proved "competent, experienced, [and] trustworthy."

       Honorable Larry A. Burns, Judge of the U.S. District Court for the Southern District of California, In
       re Sequenom, Inc. Derivative Litig., No. 09CV1341-LAB (WMC)

      "Class counsel is highly experienced in bringing both class actions and derivative claims" and have
       "a nationwide reputation for handling shareholder derivative litigation, various class actions, and
       complex litigation…. Throughout the litigation, [class counsel] has shown themselves to be capable
       and qualified to represent the class."

       Honorable Darla Williamson, Judge of the Fourth Judicial District of the State of Idaho, County of
       Ada, Carmona v. Bryant, CV-OC-0601251

      "The court also notes that the settlement appears to place the shareholders in a much better position
       than that which existed prior to the beginning of this litigation."

       Honorable John A. Houston, Judge of the U.S. District Court for the Southern District of California, In
       re Wireless Facilities Inc., Derivative Litig., No. 04-CV-1663 JAH (NLS)

      “I have high regard for … your firm.”

       Honorable James P. Kleinberg, Judge of the Superior Court of California, County of Santa Clara, In
       re Altera Corp. Derivative Litig., No. 1-06-CV-063537

      "[W]e had … competent counsel who were able to reach a very handsome settlement for the
       shareholders who were working here on behalf of the shareholders interests."

       Honorable Denise de Bellefeuille, Judge of the Superior Court of California, County of Santa
       Barbara, In re Tenet Healthcare Corp. Derivative Litig., No. 01098905

      "Thank you very much for the good work that you all did. And I think that your stockholders will
       appreciate it, too."

       Honorable Sophia H. Hall, Judge of the Circuit Court of Cook County, Illinois, In re Nicor, Inc.
       S'holder Derivative Litig., No. 02CH 15499

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       "Thank you for your good work on behalf of your clients. I appreciate it."

        Honorable Thomas Barkdull, Circuit Judge of the Fifteenth Judicial Circuit in and for Palm Beach
        County, Florida, Kloss v. Kerker, No. 50-2010-CA-018594-XXXX-MB

       "I want to tell you what a pleasure it is dealing with talented counsel.… Thank you very much."

        Honorable John G. Evans, Judge of the Superior Court for the State of California, Riverside County,
        Hess v. Heckmann, No. INC10010407

       "I think the plaintiffs and their counsel did a good job pressing forward with this action and achieving a
        good result…. I think that all in all, [$16.25 million] is a good value, a significant benefit for the
        company."
        Honorable J. Travis Laster, Vice Chancellor in the Court of Chancery of the State of Delaware, Toll
        Bros., No. 2:09-cv-00937-CDJ and No. 4140-VCL

       "It seems to me to be an excellent settlement in light of all the circumstances: and "a good result for
        all." "[P]laintiffs' counsel [got] a result that I think is very fortunate for the class."

        Honorable Sam Glasscock III, Vice Chancellor in the Court of Chancery of the State of Delaware, In
        re Venoco, Inc. Shareholder Litigation, C.A. No. 6825-VCG

       "I think y'all have done a great job pulling this thing together. It was complicated, it was drawn out,
        and a lot of work clearly went into this…. I'll approve this settlement. I appreciate the work you all did
        on this. I think this is one where – I can't always say this … there is … benefit to the shareholders that
        are above and beyond money, a benefit to the company above and beyond money that changed
        hands."

        Honorable Kevin H. Sharp, U.S. Chief District Judge, U.S. District Court for the Middle District of
        Tennessee Nashville Division, In re Community Health Systems, Inc., Shareholder Derivative
        Litigation, No. 3:11-cv-00489

       "[T]his recovery is a strong recovery for the class. And, it's one, again, that I think counsel should be
        commended for achieving.

        Honorable Joseph R. Slights, III, Vice Chancellor in the Court of Chancery of the State of Delaware,
        In re Saba Software, Inc. Stockholder Litig., C.A. No. 10697-VCN

PARTNERS

George C. Aguilar
Partner

Mr. Aguilar is a former federal prosecutor and trial lawyer who has tried more than forty federal criminal trials.
He focuses his practice on complex litigation, including shareholder rights, securities, antitrust, and
employment actions. Mr. Aguilar has successfully litigated numerous shareholder actions against fraudulent
management and company insiders, and has secured meaningful corporate governance reforms at companies
across the U.S. For example, in Warner v. Lesar, No. 2011-09567 (Tex. Dist. Ct.-Harris Cnty. Oct. 1, 2012),
Mr. Aguilar led the firm's efforts on behalf of Halliburton Company arising from defendants' mismanagement of
risk, controls, and operations that led to the worst oil spill in U.S. history at the Deepwater Horizon offshore
drilling rig in the Gulf of Mexico. Navigating the case through the company's internal investigation, and difficult
and complex settlement discussions and mediation sessions, Mr. Aguilar secured comprehensive health,
safety, and environmental governance reforms. In shareholder derivative litigation on behalf of Maxwell


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 Technologies, Inc., Loizides v. Schramm, No. 37-2010-00097953-CU-BT-CTL (Cal. Super. Ct.-San Diego
 Cnty. Apr. 12, 2012), Mr. Aguilar helped secure a settlement in which the company adopted corporate
 governance and compliance measures addressing its violations of the Foreign Corrupt Practices Act (FCPA)
 after being investigated by federal agencies for bribery and subcontracting kickbacks. Of particular note is the
 creation of a new FCPA and Anti-Corruption Compliance department led by a Chief Compliance Officer to
 provide for greater effectiveness of Maxwell's board of directors in responding to FCPA compliance issues
 worldwide.     In shareholder litigation involving Brocade Communications Systems, In re Brocade
 Communications Systems, Inc., Derivative Litigation, No. 1:05CV041683 (Cal. Super. Ct.-Santa Clara Cnty.
 Jan. 28, 2010), the firm prosecuted the shareholder action involving a criminal options backdating scheme at
 Brocade until the company formed a Special Litigation Committee to consider the plaintiffs' claims. A key
 player in the prosecution of the action, Mr. Aguilar successfully presented facts and law to the Special
 Litigation Committee on behalf of the firm's shareholder clients. Brocade ultimately retained the firm as co-
 counsel to prosecute its claims against Brocade's officers and directors.

 Mr. Aguilar also led the firm's efforts as part of a consortium of plaintiff firms in a high profile antitrust class
 action suit, Dahl v. Bain Capital Partners, No. 1:07-cv-12388(WGY) (D. Mass. Mar. 17, 2015), against several
 private equity firms. The case involved allegations of conspiracy among defendants to rig bids, restrict the
 supply of private equity financing, fix transaction prices, and divide up the market for private equity services for
 leveraged buyouts. Robbins Arroyo LLP played a prominent role in this litigation, bearing the responsibility for
 building the case against a principal defendant, one of the largest private equity firms in the world. In doing so,
 Mr. Aguilar conducted several depositions of some of the key private equity principals during the initial
 discovery phase of the case. The defendants settled for more than $590 million.

 Before joining Robbins Arroyo LLP, Mr. Aguilar spent 17 years as a federal prosecutor with the U.S. Attorney's
 Office in San Diego. During his tenure, Mr. Aguilar served as chief for the Terrorism, Violent Crimes, and
 General Prosecutions Section; deputy chief for the General Crimes Section; trial lawyer for the Financial
 Institution Fraud Task Force and the Major Frauds Sections; and as a supervising ethics officer. He led grand
 jury investigations and indicted and tried complex white collar criminal cases involving corporate, securities,
 bank, investor, tax, foreign currency and bankruptcy fraud, bank bribery, and money laundering, among
 others. He authored 35 appellate briefs, and argued more than a dozen cases on appeal before the U.S.
 Court of Appeals for the Ninth Circuit. For his work, Mr. Aguilar received several awards of recognition from
 the U.S. Department of Justice and federal agencies, including the prestigious Director's Award of the
 Executive Office for U.S. Attorneys. Prior to joining the U.S. Attorney's Office, Mr. Aguilar worked on complex
 securities defense litigation at Morrison & Foerster LLP's San Francisco office.

 Mr. Aguilar is a recognized leader in the legal and civic communities. He writes and speaks on topics related
 to shareholder litigation and corporate governance. He currently serves on the Board of Governors for the
 Association of Business Trial Lawyers of San Diego and is an active member of the San Diego La Raza
 Lawyers Association and San Diego County Bar Association. He has served in top leadership positions at La
 Raza Lawyers Association of California, San Diego La Raza Lawyers Association, the State Bar of California,
 and the City of San Diego. Mr. Aguilar was honored as a Super Lawyers Top 50 attorney in San Diego (2016-
 2018) and has been named a Super Lawyer for seven consecutive years (2012-2018). He is also the recipient
 of the Attorney of the Year Award from San Diego La Raza Lawyers Association (2014) and has received the
 San Diego Mediation Center's Peacemaker Award for his community service work.

 Mr. Aguilar received his law degree in 1986 from the University of California, Berkeley School of Law. While in
 law school, he served on the Moot Court Board and was managing editor of the La Raza Law Journal. Mr.
 Aguilar graduated from the University of Southern California in 1983 with a Bachelor of Arts in both Political
 Science and Journalism. He is licensed to practice law in the State of California, and has been admitted to the
 U.S. District Courts for the Northern, Central, and Southern Districts of California, the Eastern District of
 Wisconsin, and the District of Colorado, as well as the U.S. Courts of Appeals for the Second, Ninth, and
 Tenth Circuits, and the U.S. Supreme Court.




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 Felipe J. Arroyo
 Partner

 Mr. Arroyo has over 25 years of litigation experience and concentrates his practice on complex shareholder
 litigation. He has helped secure results for shareholders and companies in high-profile shareholder derivative
 suits and securities class actions, and has represented shareholders in a variety of industries including
 insurance, finance, banking, technology, and pharmaceuticals. He has successfully litigated derivative cases
 against top executives of publicly traded companies who participated in a range of misconduct, including stock
 option backdating, the global subprime meltdown, misappropriation, insider trading, and various types of false
 or misleading statements. He has also litigated cases stemming from mergers and acquisitions in a variety of
 industries.

 Litigation teams led by Mr. Arroyo have recovered hundreds of millions of dollars for companies and
 shareholders. For example, Mr. Arroyo played an instrumental role in recovering $70 million for Cardinal
 Health shareholders in Staehr v. Walter, No. 02-CVG-11-0639 (Ohio Ct. C.P.-Del. Cnty. Dec. 17, 2007), which
 resulted in one of the largest shareholder derivative monetary recoveries in history. In In re KB Home S'holder
 Derivative Litig., No. 2:06-CV-05148-FMC (CTx) (C.D. Cal. Feb. 9, 2009), Mr. Arroyo helped obtain a $30
 million cash benefit for KB Home shareholders, as well as the implementation of preventative corporate
 governance measures. In Martinez v. Toll, No. 2:09-cv-00937-CDJ (E.D. Pa. Mar. 27, 2013), Mr. Arroyo
 served as co-lead counsel in shareholder derivative litigation against the directors of luxury home builder Toll
 Brothers, Inc. The case arose out of misrepresentations about company earnings projections and insider
 trading by the company's officers and directors. After four years of contentious litigation and myriad discovery,
 Mr. Arroyo helped secure one of the largest Brophy settlements ever, a $16.25 million cash payment for the
 company, including a $6.45 million payment from the executive directors.

 Prior to joining Robbins Arroyo LLP, Mr. Arroyo practiced complex commercial litigation for over a decade at a
 prominent Los Angeles-based law firm. There he represented a diverse client base of Fortune 500 companies.
 An experienced trial lawyer, Mr. Arroyo also directed a public/private partnership called the Trial Advocacy
 Prosecution Program (TAPP), during which he supervised, trained, and advised attorneys on trial strategy and
 practice while they litigated misdemeanor jury trials on a pro bono basis for a municipal client. Mr. Arroyo also
 served as general counsel to a fitness company for two years where he successfully prosecuted a global
 patent infringement litigation campaign, and he practiced complex commercial litigation, including litigating
 securities fraud cases, while with a prominent New York-based law firm.

 Mr. Arroyo is Co-Chair of the Class Actions & Derivative Suits Subcommittee for the American Bar
 Association's Section of Litigation and previously served as a member of the Board of Governors at the
 Association of Business Trial Lawyers in San Diego (2012-2014). He frequently speaks on shareholder
 litigation and corporate governance topics to investor and legal communities. Mr. Arroyo was recognized as a
 Super Lawyer (2015-2018), named a Super Lawyers Top 50 attorney in San Diego (2016), and a
 Recommended Attorney in M&A Litigation by Legal 500 (2016).

 Mr. Arroyo earned his Juris Doctor from Yale Law School in 1992. While at Yale, he served as a senior editor
 of the Yale Law Journal and as a director of the Yale Moot Court of Appeals. In 1989, he earned his Bachelor’s
 in Economics from the University of California, Los Angeles, where he served as a member of the A.S.U.C.L.A
 Finance Committee. Mr. Arroyo is licensed to practice law in the State of California and the District of
 Columbia, and has been admitted to the U.S. District Courts for the Northern and Central Districts of California
 and the District of Colorado, as well as the U.S. District Courts of Appeals for the Second and Ninth Circuits.

 Gregory E. Del Gaizo
 Partner

 Mr. Del Gaizo focuses his practice on shareholder rights litigation. As the head of Robbins Arroyo LLP's new
 matters practice group, he initiates and oversees pre-litigation investigations and analysis of new cases for the
 firm. Mr. Del Gaizo has prosecuted shareholder litigation that recouped over one hundred million dollars and
 secured extensive corporate governance reforms and other pro-investor measures at companies in which his


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 clients invest.

 Mr. Del Gaizo's successes on behalf of clients include leading the discovery process for Robbins Arroyo LLP
 in litigation on behalf of luxury homebuilder Toll Brothers, Inc., which resulted in a $16.25 million settlement,
 one of the largest Brophy monetary recoveries ever. Martinez v. Toll, No. 2:09-cv-00937-CDJ (E.D. Pa. Mar.
 27, 2013). He was also a member of litigation teams in Staehr v. Walter, No. 02-CVG-11-0639 (Ohio Ct. C.P.-
 Del. Cnty. Dec. 17, 2007), which secured a payment of $70 million to Cardinal Health, and In re KB Home
 S'holder Derivative Litig., No. 2:06-CV-05148-FMC (CTx) (C.D. Cal. Feb. 9, 2009), which obtained $30 million
 in cash benefits and substantial corporate governance reforms for the home builder.

 Mr. Del Gaizo has authored several articles on securities litigation, including State Law Insider Trading Claims
 See New Light, The Recorder, July 1, 2011; Directors and Officers Can't Hide in Del., Securities Law360, Jan.
 14, 2011; Control of Forum in Derivative Actions, The Recorder, Dec. 10, 2010; and Clearing the Path for
 Double Derivative Suits, The Recorder, Nov. 1, 2010. He also speaks to audiences about shareholder rights,
 and was recognized as a Rising Star by Super Lawyers (2015-2016) and a Recommended Attorney in M&A
 Litigation by Legal 500 (2016).

 Mr. Del Gaizo obtained his Juris Doctor degree in 2006 from the University of San Diego School of Law. While
 in law school, Mr. Del Gaizo served as a research assistant to Frank Partnoy, director of the Center for
 Corporate and Securities Law at the University of San Diego, and as an intern at Kim & Chang, the largest law
 firm in Korea. Mr. Del Gaizo attended Providence College and, while there, interned for the New York City
 Law Department. He graduated cum laude in 2003 with a Bachelor of Arts degree in Political Science. Mr.
 Del Gaizo is licensed to practice law in the State of California, and has been admitted to the U.S. District
 Courts for the Central and Southern Districts of California and the District of Colorado.

 Jenny L. Dixon
 Partner

 Ms. Dixon concentrates her practice on shareholder rights litigation. She has approximately 20 years of
 litigation experience, with more than 15 years devoted to prosecuting and defending securities claims from
 inception through trial. In 2016, Ms. Dixon successfully settled two cases that challenged corporate
 governance and processes surrounding non-employee director compensation. In Espinoza v. Zuckerberg, CA
 No. 9745-CB (Del. Ch. Mar. 30, 2016), Ms. Dixon served as counsel in shareholder derivative litigation on
 behalf of Facebook, Inc. arising from the alleged award of unfair excessive compensation by the board of
 directors to its non-employee members. After deposing Facebook's Chief Executive Officer, Mark Zuckerberg,
 and beating a motion for summary judgment, Ms. Dixon helped convince Facebook to impose corporate
 governance reforms designed to ensure the Board awards executive compensation fairly and not to the
 detriment of the company, including allowing stockholders to vote on non-employee directors' compensation.
 In Calma v. Templeton, No. 9579-CB (Del. Ch. Sept. 2, 2016), Ms. Dixon led the shareholder derivative
 litigation on behalf of Citrix Systems, Inc. against its fiduciaries for breach of fiduciary duty, waste of corporate
 assets, and unjust enrichment related to equity awards granted in 2011–2013. As part of the settlement, Citrix
 amended its equity plan to impose a ceiling on director compensation that would be subject to shareholder
 approval, enhance disclosures surrounding director compensation in the annual proxy statements, and
 improve the Compensation Committee's processes.

 Prior to joining Robbins Arroyo LLP, Ms. Dixon worked at national law firms in the San Francisco and San
 Diego areas. She has experience representing individuals and companies in regulatory proceedings, including
 responses to inquiries by the SEC and the Financial Industry Regulatory Authority. In addition to securities
 litigation, Ms. Dixon has substantial experience in business litigation and employment cases. Active in pro
 bono matters, Ms. Dixon successfully resolving a human trafficking case on a victim's behalf prior to trial and
 secured a multi-million dollar jury verdict in a human rights case that was subsequently upheld on appeal.

 Ms. Dixon was honored by San Diego Business Journal as Best of the Bar in 2016, and is a member of the
 Board of Governors for the Association of Business Trial Lawyers and the Class Action Preservation Project
 Committee for the Public Justice Foundation.

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 Ms. Dixon obtained her Juris Doctor degree from the University of California, Hastings College of the Law.
 While in law school, Ms. Dixon was associate articles editor for Hastings Communications & Entertainment
 Law Journal and a Certified Law Student for the Civil Justice Clinic. Ms. Dixon also worked as a judicial extern
 for the Honorable William W. Schwarzer of the U.S. District Court for the Northern District of California and as
 a law clerk for the Federal Public Defenders office for the Northern District of California. Ms. Dixon earned a
 Bachelor of Arts degree in Political Science from the University of California, Irvine, where she was named to
 the Dean's List. She is licensed to practice law in the State of California, and has been admitted to the U.S.
 District Courts for the Northern, Central, and Southern Districts of California and the U.S. Courts of Appeals for
 the Sixth, Ninth, and Eleventh Circuits.

 Stephen J. Oddo
 Partner

 Mr. Oddo has devoted his practice to representing individual and institutional shareholders in corporate merger
 and acquisition class actions for more than a decade. In so doing, he has secured tens of millions of dollars of
 additional consideration for shareholders whose investments have been adversely impacted by corporate
 transactions. Mr. Oddo has also achieved disclosure of material information to shareholders so they are
 informed on the transaction at the time of the vote. His litigation efforts have helped preserve the integrity of
 the merger process in companies across the country and helped maximize value to shareholders. For his
 excellence in practice, Mr. Oddo was named a Super Lawyer (2016-2018) and a Recommended Attorney in
 M&A Litigation by Legal 500 (2016, 2018).
 Serving as lead counsel in In re Saba Software, Inc. Stockholder Litig. C.A. No. 10698-VCN, Mr. Oddo
 secured a $19.5 million settlement on behalf of former Saba Software shareholders in a class action alleging
 the company had engaged in a flawed and self-serving sales process in exchange for inadequate merger
 consideration for Saba Software shareholders. The court acknowledged that the settlement was "exemplary"
 and a "strong recovery for the class." In In re Venoco, Inc. S'holder Litig., C.A. No. 6825-VCG (Del. Ch. Oct. 5,
 2016), Mr. Oddo, serving as co-lead counsel to the public shareholders of the energy company, achieved a
 $19 million settlement fund for shareholders – a significant recovery in light of Venoco's dire financial
 circumstances. Mr. Oddo earned praise from the judge for securing a "good result for all" and noted Robbins
 Arroyo LLP as "excellent counsel." Mr. Oddo secured a $5.9 million settlement fund as lead counsel in In re
 Star Scientific, Inc. Securities Litig., No. 3:13-CV-00183-JAG (E.D. VA July 6, 2015), a securities fraud class
 action alleging that defendants made materially false and misleading statements regarding one of the
 company's clinical trials. In In re PETCO Animal Supplies, Inc. S'holder Litig., Lead Case No. GIC 869399
 (Cal. Super. Ct.-San Diego Cnty. Mar. 26, 2010), Mr. Oddo helped secure a $16 million settlement fund for the
 shareholder class after three years of contentious litigation. At his former firm, Mr. Oddo represented
 shareholders of eMachines, Inc., in In re eMachines, Inc. Merger Litigation, No. 01-CC-00156 (Cal. Super. Ct.-
 Orange Cnty. July 25, 2007), in challenging the efforts of the company's founder to take the company private.
 Mr. Oddo's litigation efforts helped secure a $24 million common fund for shareholders. In the merger and
 acquisition-related securities class action In re Electronic Data Systems Class Action Litigation, Master File
 No. 366-01078-2008 (Tex. Dist. Ct.-Collin Cnty. Dec. 23, 2008), Mr. Oddo served as lead counsel and
 challenged the acquisition of Electronic Data Systems Corporation by Hewlett-Packard Company. Mr. Oddo
 negotiated a pre-closing settlement that secured for Electronic Data Systems shareholders a $25 million
 dividend and the disclosure of previously omitted material information concerning the transaction that allowed
 for an informed shareholder vote.
 Prior to joining Robbins Arroyo LLP, Mr. Oddo was a partner at the firm now known as Robbins Geller
 Rudman & Dowd LLP, where Mr. Oddo was part of a team at the forefront of litigating shareholder claims
 challenging unfair business combinations. Before entering the legal profession, Mr. Oddo served as Press
 Secretary to U.S. Representative Robert T. Matsui (D-Cal).

 Mr. Oddo received his Juris Doctor in 1994 from the University of San Diego School of Law. During law
 school, he interned for the Honorable Eugene Lynch, U.S. District Judge in the Northern District of California.
 Mr. Oddo earned his Master of Science in Journalism from Northwestern University, Medill School of
 Journalism in 1987, and his Bachelor of Arts from Santa Clara University in 1986. Mr. Oddo is licensed to

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 practice law in the State of California, and has been admitted to the U.S. District Courts for the Northern,
 Central, and Southern Districts of California, the District of Colorado, the Northern District of Illinois, the
 Southern District of Texas, the Eastern District of Michigan, and the Eastern District of Wisconsin.

 Brian J. Robbins
 Partner

 Mr. Robbins is a co-founder and the managing partner of Robbins Arroyo LLP and oversees the management
 of the firm and its practice areas. He has committed his entire career to representing shareholders,
 employees, consumers, and businesses in complex litigation matters. Focusing on shareholder rights
 litigation, Mr. Robbins has served as lead or co-lead counsel in many complex, multi-party actions across the
 country on behalf of U.S. and international clients. He has secured hundreds of millions of dollars in monetary
 recoveries and comprehensive corporate governance enhancements for shareholders and the public
 corporations in which they have invested.

 In Titan, Inc. Securities Litigation, No. 04-CV-0676-LAB (NLS) (S.D. Cal. Dec. 20, 2005), Mr. Robbins helped
 obtain a $61.5 million recovery, one of the largest securities fraud class action recoveries in San Diego's
 history, and in In re Tenet Healthcare Corporation Derivative Litigation, No. 01098905 (Cal. Super Ct.-Santa
 Barbara Cty. May 5, 2006), aff'd, No. B192252 (Cal. App. Sept. 20, 2007), he helped recover $51.5 million for
 Tenet and sweeping corporate governance enhancements and remedial measures. In In re OM Group, Inc.
 Derivative Litigation, No. 1:03-CV-0020 (N.D. Ohio Nov. 10, 2005), Mr. Robbins secured $29 million for OM
 Group, the removal of the company's long term chief executive officer, the addition of two shareholder-
 nominated directors, and other corporate governance reforms, and in In re Wireless Facilities, Inc. Derivative
 Litigation, No. 04-CV-1663-JAH-(NLS) (S.D. Cal. Mar. 30, 2010), Mr. Robbins was instrumental in obtaining
 the forfeiture of stock and/or stock options back to the company by certain officers, restricted voting rights for
 certain former officers and directors, monetary reimbursement to the company, and corporate governance
 reforms, such as the addition of two independent directors to the board and an annual review of the chairman's
 performance. Mr. Robbins was also instrumental in achieving an extraordinary settlement on behalf of his
 shareholder client in Kloss v. Kerker, No. 50-2010-CA-018594-XXXX-MB (Fla. Cir. Ct.-Palm Beach Cty. May
 27, 2011), which virtually saved vitamin and supplement retailer Vitacost.com, Inc. from bankruptcy and
 helped to preserve the equity interests of its shareholders.

 Mr. Robbins is recognized nationally as a leader in the plaintiffs' bar. He has authored articles in several
 national publications and speaks to audiences as an authority on securities litigation, corporate governance,
 and shareholder rights topics. For his leadership and achievements, he has been named a Super Lawyer for
 the past 12 years (2007–2018), Best of the Bar by San Diego Business Journal (2014–2016), and a Top 50
 Attorney in San Diego by Super Lawyers (2014, 2016, 2018). He was also recognized by Best Lawyers in
 America for Securities Litigation (2016-2018), and a Top Attorney by The Daily Transcript (2015).

 Mr. Robbins earned his Master of Laws (LL.M.) in Securities and Financial Regulation from the Georgetown
 University Law Center in 1998 and received his Juris Doctor from Vanderbilt Law School in 1997. While at
 Vanderbilt, Mr. Robbins served as research assistant for two corporate and securities law professors:
 Professor Donald C. Langevoort, former Special Counsel for the U.S. Securities and Exchange Commission in
 the Office of the General Counsel, and the late Professor Larry D. Soderquist, one of the most respected
 professors in the field of corporate and securities law. He earned his Bachelor of Arts in Sociology from the
 University of California, Berkeley in 1993 after only two and a half years of study. Mr. Robbins is licensed to
 practice law in the State of California and the State of Connecticut, and has been admitted to the U.S. District
 Courts for the Northern, Central, and Southern Districts of California, the District of Colorado, the District of
 Connecticut, and the Western District of Texas, as well as the U.S. Courts of Appeals for the Second, Fifth,
 Sixth, Ninth, and Tenth Circuits.

 Ashley R. Rifkin
 Partner

 Ms. Rifkin has over 10 years of experience representing clients in complex litigation, including shareholder


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 rights, consumer class actions, and antitrust matters. She has helped achieve significant recoveries for
 shareholders in connection with securities class actions involving corporate mergers and acquisitions. For
 example, in Fuerstenberg v. Mid-State Bancshares, No. CV 060976 (Cal. Super. Ct.-San Luis Obispo County
 Oct. 4, 2007), Ms. Rifkin was part of the litigation team that obtained waivers of the "confidentiality" and "no-
 shop" provisions in the sale agreement, which enabled other suitors to participate effectively in the bidding
 process. In In re HCA Inc. Derivative Litigation, No. 3:05-CV-0968 (M.D. Tenn. Dec. 20, 2007), Ms. Rifkin was
 part of the litigation team that forced the disclosure of material information to shareholders before they voted
 on the proposed buyout by a private equity group and founding member.

 Ms. Rifkin has litigated shareholder derivative actions on behalf of corporations and shareholders seeking to
 redress various forms of corporate misconduct including backdating and springloading practices, false and
 misleading public disclosures, improper Medicare and Medicaid billing practices, claims of off-label marketing,
 violations of the FCPA, and other state and federal law violations. She has helped achieve considerable
 monetary recoveries and corporate governance reforms for clients and companies through these actions. In In
 re Community Health Systems Inc. Shareholder Derivative Litig., No. 3:11-cv-00489 (M.D. Tenn. Jan. 20,
 2017), Ms. Rifkin was part of the team that brought shareholder derivative litigation against the officers and
 directors of Community Health Systems, Inc. alleging that the fiduciaries systematically steered patients into
 medically unnecessary inpatient admissions when they should have been treated as outpatient. Ms. Rifkin
 oversaw the extensive document review process and other aspects of discovery. Ms. Rifkin's team obtained a
 $60 million cash payment to Community Health and the implementation of extensive corporate governance
 reforms. In shareholder derivative litigation arising from Motorola Inc.'s publication of allegedly misleading
 statements regarding its next-generation cell phones and revenue projections, In re Motorola, Inc. Derivative
 Litig., No. 07CH23297 (Ill. Cir. Ct.-Cook Cnty. Nov. 29, 2012), Ms. Rifkin helped negotiate comprehensive
 governance reforms that overhauled the company's oversight of financial disclosures and achieved structural
 reforms that better aligned director and executive compensation with long-term shareholder interests. Ms.
 Rifkin served alongside a team of plaintiff firms in antitrust litigation involving allegations of conspiracy among
 private equity firms to rig bids, restrict the supply of private equity financing, fix transaction prices, and divide
 up the market for private equity services for leveraged buyouts. Dahl v. Bain Capital Partners, No. 1:07-cv-
 12388 (WGY) (D. Mass. Mar. 17, 2015). The defendants settled for more than $590 million.

 Ms. Rifkin was named a Super Lawyer Rising Star (2015-2016) and to the "Best Young Attorneys in San
 Diego County" list by The Daily Transcript (2011).

 Ms. Rifkin received her Juris Doctor in 2006 from Thomas Jefferson School of Law. She graduated summa
 cum laude second in her class, was on the Dean's List, and received the Outstanding Scholastic Achievement
 Award for the 2004-2005 school year. While in law school, Ms. Rifkin served as a judicial extern for the
 Honorable David A. Workman in the Los Angeles Superior Court. She also was chief articles editor and notes
 editor of the Thomas Jefferson Law Review and vice president of operations of the Tax Society. Ms. Rifkin
 graduated from the University of California, Santa Barbara in 2002 with a Bachelor of Arts degree in
 Psychology. She is licensed to practice law in the State of California, and has been admitted to the U.S.
 District Courts for the Northern, Central, and Southern Districts of California, the District of Colorado, and the
 U.S. Courts of Appeals for the Ninth and Tenth Circuits.

 Kevin A. Seely
 Partner

 Mr. Seely devotes his practice to representing shareholders, whistleblowers, and consumers in complex
 derivative, qui tam, and class actions throughout the U.S. A tenacious trial lawyer with more than 25 of
 litigation experience in both the public and private sectors and in criminal and civil fraud prosecutions, Mr.
 Seely has successfully prosecuted top corporate executives, high-ranking government officials, and corporate
 entities for a variety of wrongdoing, including theft of government services, bribery, embezzlement, and health
 care fraud.

 Mr. Seely has achieved significant results for his clients. In In re Community Health Systems, Inc. Shareholder
 Derivative Litig., No. 3:11-cv-00489 (M.D. Tenn. Jan. 20, 2017), serving as plaintiff's co-lead counsel, Mr.


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 Seely and his team were instrumental in obtaining a $60 million cash payment to Community Health, which is
 believed to be the largest shareholder derivative recovery in the Sixth Circuit to date, and extensive corporate
 governance reforms. The firm brought In re Alphatec Holdings, Inc., Derivative Shareholder Litigation, No. 37-
 2010-00058586-CU-BT-NC (Cal. Super. Ct.–San Diego Cnty. Aug. 21, 2014) on behalf of Alphatec Holdings,
 Inc. to hold the company's fiduciaries responsible for their role in depleting shareholder equity through their
 self-serving actions. Mr. Seely's efforts resulted in the resignation of several defendant directors and senior
 executives, and Alphatec's implementation of reforms providing for director independence, greater review and
 oversight of related party transactions, and enhanced audit committee responsibilities regarding disclosure of
 company financial information. In shareholder derivative litigation on behalf of Computer Sciences
 Corporation, Bainto v. Laphen, No. A-12-661695-B (Nev. Dist. Ct.-Clark Cnty. Nov. 6, 2013), arising out of
 senior management and board of directors' breaches of fiduciary duties, Mr. Seely obtained extensive
 governance enhancements, including personnel changes, implementation of a Global Ethics & Compliance
 Program, and finance and administration training to strengthen accounting procedures and processes. Mr.
 Seely's settlement in In re SciClone Pharmaceuticals, Inc. Shareholder Derivative Litigation, No. CIV 499030
 (Cal. Super. Ct.-San Mateo Cnty. Dec. 13, 2011), was praised by the Honorable Marie S. Weaver as "the most
 detailed and extensive corporate governance changes I've seen in a derivative settlement," and established
 consequences to employees for violations of the FCPA and other criminal misconduct. The settlement also
 created the position of compliance coordinator and a compliance program and code, instituted a due diligence
 process pertaining to the hiring of all foreign agents and distributors and demanded employee compliance
 training, established policies for disclosure and clawback of incentive-based compensation for officers in the
 event of a material restatement of the company's financial statements, and modified the company's
 whistleblower programs. In In re ArthroCare Corporation Derivative Litigation, No. D-1-GN-08-003484 (W.D.
 Tex.); Weil v. Baker, No. 08-CA-00787-SS (W.D. Tex Dec. 8, 2011), Mr. Seely obtained a substantial
 monetary recovery for ArthroCare Corporation, as well as the implementation of enhanced internal controls
 and reforms designed to curtail future corporate misconduct.

 Prior to joining Robbins Arroyo LLP, Mr. Seely served as an Assistant U.S. Attorney ("AUSA") in the
 U.S. District Court for the Southern District of California where he prosecuted civil fraud claims under the
 federal False Claims Act. He also served as an AUSA for the Districts of Guam and Northern Mariana Islands,
 focusing on white collar crime and public corruption matters. In actions filed on behalf of various U.S. federal
 agencies, Mr. Seely led the investigation, litigation, and negotiation of numerous settlements resulting in the
 return of millions of dollars to the victims of complex financial, accounting, and contract fraud schemes. Before
 becoming a federal prosecutor, Mr. Seely was a partner at a prominent commercial litigation law firm with
 offices in Guam and the Commonwealth of the Northern Mariana Islands.

 Mr. Seely has authored articles in leading legal publications on shareholder and consumer rights topics, and
 was named a Super Lawyer for the past four years (2015–2018).

 Mr. Seely received his Juris Doctor in 1992 from the Northwestern School of Law of Lewis & Clark College.
 While in law school, he was an associate editor of the Lewis & Clark Law Review. Mr. Seely graduated cum
 laude from the University of California, Irvine in 1988. He is licensed to practice law in the State of California,
 the territory of Guam, and the Commonwealth of the Northern Mariana Islands, and he has been admitted to
 the U.S. District Courts for the Northern, Central, and Southern Districts of California, the District of Colorado,
 the Northern District of Florida, the District of Guam, the Northern and Central Districts of Illinois, the Eastern
 District of Michigan, the District of the Northern Mariana Islands, and the Western District of Texas, as well as
 the U.S. District Court of Appeals for the Ninth Circuit.

 Craig W. Smith
 Partner

 Mr. Smith represents shareholders in derivative and securities fraud class actions. His clients include
 shareholders invested in the banking and finance, biotechnology, defense, education, information technology,
 leisure, consumer goods, and pharmaceutical industries. Mr. Smith also serves as the firm's general counsel.

 Mr. Smith has led the firm's prosecution of a number of successful actions brought directly on behalf of


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 shareholders and derivatively for the benefit of public corporations. In In re Fifth Street Corp. Shareholder
 Derivative Litigation, Lead Case No. 3:15-cv-01795-RNC (D. Conn. Dec. 13, 2016), Mr. Smith served as lead
 counsel in shareholder derivative litigation on behalf of Fifth Street to challenge alleged conflicts of interest in
 Fifth Street's relationship with its investment advisor after certain Fifth Street officers and directors caused the
 company to make reckless investments and pay excessive fees to inflate the investment advisor's perceived
 value in advance of its initial public offering. Mr. Smith led the settlement negotiations that resulted in advisory
 fee reductions worth at least $30 million and comprehensive corporate governance, oversight, and conflicts
 management enhancements. Mr. Smith and his team played a leading role in a shareholder derivative suit
 brought on behalf of Avon Products, Inc., Pritika v. Jung, No. 651479/2015 (N.Y. Sup. Ct. May 1, 2015),
 against certain officers and directors who plaintiffs allege turned a blind eye to bribes made in violation of the
 FCPA to secure the first foreign direct sales license in China. Mr. Smith led the negotiations that resulted in
 Avon's agreement to adopt a comprehensive corporate governance and compliance reform program. The
 Wall Street Journal praised the settlement as "a victory for shareholders looking for accountability from the
 business." Mr. Smith also played a leading role in shareholder derivative litigation brought on behalf of Career
 Education Corporation against officers and directors who plaintiffs alleged allowed its for-profit schools to
 falsify job placement and student loan repayment rates, fall short of accreditation standards, and jeopardize
 access to the Title IV federal student loan funds that account for the lion's share of its revenues. Mr. Smith
 and his co-counsel in Alex v. McCullough, No. 1:12-cv-08834 (N.D. Ill. Dec. 5, 2012); Bangari v. Lesnik, No.
 1:11-CH-41973 (Ill. Cir. Ct.-Cook Cty. Dec. 11, 2011); and Cook v. McCullough, No. 1:11-cv-09119 (N.D. Ill.
 Dec. 22, 2011), negotiated a global settlement that secured a $20 million recovery for Career Education, as
 well as comprehensive board and management-level governance and oversight reforms.

 Mr. Smith has played an important role in improving the quality of corporate governance and oversight at
 pharmaceutical and bio-technology companies. In In re Forest Labs., Inc., Derivative Litigation, No. 1:05-cv-
 03489 (RJH) (S.D.N.Y. Feb. 7, 2012), Mr. Smith secured comprehensive regulatory oversight and compliance
 reforms to address the fallout resulting from Forest Lab's marketing of Celexa and Lexapro for off-label
 treatment of pediatric depression –– violations that cost Forest Labs more than $313 million in fines and
 sanctions. The reforms included the creation of Chief of Compliance and Chief Medical Officer positions,
 board oversight and management-level oversight of sales and promotions compliance, comprehensive policies
 and procedures governing sales and promotional activities, and compliance monitoring programs, including
 field sampling of interactions with physicians and rigorous reporting procedures and controls. Mr. Smith
 spearheaded the litigation and settlements in shareholder derivative actions brought on behalf of
 biotechnology companies, MannKind Corporation, In re MannKind Corp. Derivative Litigation, No. 1:11-cv-
 05003-GAF-SSx (C.D. Ca. June 13, 2011), and CTI BioPharma (f.k.a. Cell Therapeutics), In re Cell
 Therapeutics, Inc., Derivative Litigation, No. 2:10-cv-00564-MJP (W.D. Wash.-Seattle Apr. 1, 2010), that led to
 their adoption of state-of-the-art clinical trial and disclosure oversight and internal controls programs, following
 costly mismanagement of clinical trials and publication of misleading disclosures.

 Mr. Smith played a leading role in securing best-in-class corporate governance for Motorola, Inc. in
 shareholder derivative litigation arising from Motorola's publication of misleading statements about prospects
 for its next-generation cell phones and related revenue projections. In re Motorola, Inc. Derivative Litigation,
 No. 07-CH-23297 (Ill. Cir. Ct.-Cook Cty. Nov. 29, 2012). Mr. Smith was instrumental in drafting and
 negotiating a comprehensive overhaul of board- and executive-level supervision of financial disclosures, as
 well as broader corporate governance reforms designed to align director and executive compensation with
 long-term shareholder interests and to eliminate incentives for executives to manipulate results or withhold
 negative information from shareholders. As lead counsel in Monday v. Meyer, No. 1:10-cv-01838-DCN (N.D.
 Ohio Aug. 17, 2012), Mr. Smith challenged the KeyCorp Board of Director's handling of an unlawful tax
 avoidance scheme, which exposed the bank to billions of dollars in back taxes and fines by the IRS. While the
 case was on appeal, Mr. Smith negotiated corporate governance reforms that strengthened KeyCorp's internal
 controls and Board oversight over financial transactions and legal/regulatory risk, capital planning, dividends,
 and stock repurchases. Mr. Smith played a key role in persuading Brocade Communication Systems, Inc.'s
 Board Special Litigation Committee to prosecute stock option backdating claims against former officers and
 directors of Brocade. In re Brocade Communication Systems, Inc., Derivative Litigation, No. 1:05-cv-041683
 (Cal. Super. Ct.-Santa Clara Cty. Jan. 28, 2010). As part of a four-lawyer team, Mr. Smith convinced the
 Committee to retain the firm as co-counsel to pursue the claims. Brocade recovered tens of millions of dollars


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 and extinguished its obligation to fund the criminal defense of its former CEO.

 Mr. Smith was recognized by his peers as a San Diego Super Lawyer for four consecutive years (2015–2018).

 Before joining Robbins Arroyo LLP, Mr. Smith served for four years as division and regional counsel for
 UBS Financial Services, Inc., a global financial services company, where he advised management regarding
 litigation, regulatory, and employment matters arising in the company's Northern Pacific region. Mr. Smith
 spent the first decade of his career at O'Melveny & Myers LLP, where he defended Fortune 500 companies
 and professional services firms in securities fraud class actions, shareholder derivative litigation, SEC
 investigations and enforcement actions, and professional malpractice and business tort matters. Mr. Smith
 served for five years on O'Melveny & Myers' firm-wide Pro Bono Committee.

 Mr. Smith earned his Juris Doctor in 1992 from Yale Law School. At Yale, he externed for the U.S. Attorney's
 Office in New Haven, Connecticut. Mr. Smith graduated with highest honors in Political Science and highest
 distinction in Letters and Science from the University of California, Berkeley in 1988, and was initiated into Phi
 Beta Kappa as a junior. He is licensed to practice law in the State of California, and has been admitted to the
 U.S. District Courts for the Northern, Central, and Southern Districts of California, as well as the U.S. Courts of
 Appeals for the First, Sixth, and Ninth Circuits.

 OF COUNSEL

 Nichole T. Browning
 Of Counsel

 Ms. Browning has spent her career representing clients in a range of complex litigation matters, including
 corporate merger and acquisition class actions, shareholder derivative actions, securities fraud class actions,
 consumer class actions, and antitrust litigation. She has handled all aspects of case management from
 inception through trial and appeals. Ms. Browning also assists the firm's cases through the settlement process.

 Working closely with partner Stephen Oddo, Ms. Browning achieved a $19.5 million settlement on behalf of
 former Saba Software shareholders in In re Saba Software, Inc. Stockholder Litig. C.A. No. 10698-VCN, a
 class action alleging the company had engaged in a flawed and self-serving sales process in exchange for
 inadequate merger consideration for Saba Software shareholders. In approving the settlement the court
 acknowledged it was a "strong recovery for the class." Prior to joining the firm, Ms. Browning was a senior
 associate at the San Francisco office of Barroway Topaz Kessler Meltzer & Check, LLP, where she
 represented shareholders throughout the U.S. in complex litigation involving securities fraud class actions and
 shareholder derivative actions. For example, Ms. Browning acted as co-lead counsel in In re Atmel Corp.
 Derivative Litigation, No. 5:06-cv-4592-JF (N.D. Cal. Aug. 13, 2010), a shareholder derivative action involving
 stock option backdating. The case ultimately secured $9.65 million for the company and the implementation of
 significant corporate governance reforms, including a strengthened process for granting and documenting the
 issuance of employee stock option awards and enhanced independence of the board of directors. Ms.
 Browning also played an instrumental role in In re Apple Computer, Inc. Derivative Litigation, No. C-06-04128
 (N.D. Cal. Nov. 10, 2008), a shareholder derivative action involving stock option backdating. Ms. Browning
 helped prosecute plaintiffs' claims and supported team efforts that recovered $14 million and prompted Apple
 to implement cutting edge corporate governance practices. Earlier in her career, Ms. Browning worked for
 preeminent Atlanta-based firms prosecuting and defending complex litigation, including securities fraud and
 antitrust class actions.

 Ms. Browning has authored publications including Reducing FCPA Exposure, The Recorder, June 25, 2012,
 together with Kevin A. Seely and Gina Stassi; Understanding the Shareholder Bill of Rights, Law360, Nov. 10,
 2009; and Private Securities Litigation Reform Act of 1995 (PSLRA) Update, Institute of Legal Education of
 Georgia, Nov. 2000, together with Martin D. Chitwood.

 Ms. Browning received her Juris Doctor in 1997 from American University, Washington College of Law. While
 in law school, Ms. Browning studied at Emory University School of Law in Atlanta, Georgia, and the

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 Universidad Diego Portales in Santiago, Chile. She graduated from Emory University in 1994 with a Bachelor
 of Arts in Psychology. Ms. Browning is licensed to practice law in the State of California and the State of
 Georgia, and has been admitted to the U.S. District Courts for the Northern and Central Districts of California
 and the Northern District of Georgia, as well as the U.S. Courts of Appeals for the Second and Ninth Circuits.

 Shane P. Sanders
 Of Counsel

 Mr. Sanders represents individual and institutional investors in shareholder derivative actions, securities fraud
 class actions, and mergers and acquisitions actions. He has helped prosecute shareholder litigation that
 recouped millions of dollars from fraudulent corporate officers and secured the implementation of extensive
 corporate governance reforms at public corporations. In so doing, Mr. Sanders has successfully opposed
 numerous dispositive motions, including motions based on demand futility.

 Mr. Sanders helped litigate shareholder derivative litigation on behalf of Fifth Street Finance Corp., In re Fifth
 Street Finance Corp. Shareholder Derivative Litigation, Lead Case No. 3:15-cv-01795-RNC (D. Conn. Dec. 13,
 2016), based on allegations that the company's officers and directors caused Fifth Street to pursue reckless
 asset growth strategies, employ aggressive accounting and financial reporting practices, and pay excessive
 fees to its investment advisor to inflate the investment advisor's perceived value in advance of its initial public
 offering. Mr. Sanders was instrumental in the discovery efforts and settlement negotiations and mediations,
 and helped secure an outstanding settlement for Fifth Street and its stockholders, including advisory fee
 reductions worth at least $30 million to Fifth Street, and comprehensive corporate governance, oversight, and
 conflicts management enhancements to substantially improve the compliance control environment at Fifth
 Street and reduce the likelihood of a recurrence of similar wrongdoing in the future. Mr. Sanders was the lead
 associate in In re Koss Corporation Shareholder Derivative Litigation, No. 10-CV-2422 (Wis. Cir. Ct.-
 Milwaukee Cnty. Sept. 22, 2011), a shareholder derivative action that involved the theft of tens of millions of
 dollars from the company by one of its executive officers. In that case, Mr. Sanders and his fellow counsel
 defeated defendants' motion to dismiss based on demand futility and negotiated a settlement that provided for
 the implementation of extensive corporate governance changes, including the separation of the positions of
 chairman of the board of directors, chief executive officer, and chief financial officer; the appointment of a lead
 independent director; enhanced accounting and audit functions; and the implementation of a plan requiring the
 reimbursement of excess incentive-based compensation in the event of a financial restatement. In In re
 Fossil, Inc. Derivative Litigation, No. 3:06-cv-01672-F (N.D. Tex. July 6, 2011), Mr. Sanders supported a team
 in multi-year derivative litigation that achieved a settlement securing $8.6 million payment for Fossil from
 individual defendants and industry leading corporate governance reform, such as declassifying the election of
 directors to the board. Mr. Sanders was the lead associate in Paschetto v. Shaich, No. 08-SL-CC00805 (Mo.
 Cir. Ct.-St. Louis Cnty. April 8, 2011), a shareholder derivative action on behalf of Panera Bread Company in
 which Mr. Sanders helped the firm defeat defendants' motion to dismiss based on demand futility and
 negotiate a settlement that provided substantial benefits to the company and its shareholders. In In re Vitesse
 Semiconductor Corporation, No. Civ240483 (Cal. Sup. Ct.-Ventura Cnty. Oct. 17, 2008), Mr. Sanders was part
 of a team that achieved the return of more than $13 million from company insiders and valuable corporate
 governance improvements. In In re Ligand Pharmaceuticals, Inc. Derivative Litigation, No. GIC834255 (Cal.
 Super. Ct.-San Diego Cnty. Oct. 12, 2006), Mr. Sanders supported a team that persuaded the court that
 demand on the board of directors was futile and subsequently defeated all of defendants' other motions, and
 helped obtain a $14 million payment to the corporation and significant corporate governance improvements for
 the company.

 For his achievements, Mr. Sanders was recognized by his peers as a Super Lawyer Rising Star (2015).

 Mr. Sanders received his Juris Doctor degree in 2004 from the University of San Diego School of Law. While
 in law school, Mr. Sanders served as a law clerk at the San Diego County Public Defender's Office, and he
 was a member of the Association of Trial Lawyers of America and USD's Sports and Entertainment Law
 Society. He also participated in USD's Thorsnes Closing Argument Competition and Senior Honors Moot
 Court Competition, receiving among the highest marks for his written briefs. Mr. Sanders graduated from the
 University of California, Santa Barbara in 2001 with a Bachelor of Arts degree in Sociology. He is licensed to


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 practice law in the State of California, and has been admitted to the U.S. District Courts for the Northern,
 Central, and Southern Districts of California and the District of Colorado, as well as the U.S. Courts of Appeals
 for the First, Second, and Ninth Circuits.

 Marc M. Umeda
 Of Counsel

 Mr. Umeda co-founded the law firm and has practiced complex litigation throughout his legal career. He has
 successfully prosecuted shareholder derivative and securities class actions across the country on behalf of his
 shareholder clients, achieving multi-million dollar monetary recoveries, including one of the largest monetary
 settlements ever in a shareholder derivative action, and securing corporate governance improvements at
 some of the country's most well-known companies.

 Mr. Umeda has served as lead counsel on numerous cases that obtained significant results for shareholders
 and corporations, such as Staehr v. Walter, No. 02-CVG-11-0639 (Ohio Ct. C.P.-Del. Cnty. Dec. 17, 2007)
 ($70 million for Cardinal Health), In re Nicor, Inc. S'holder Derivative Litig., No. 02 CH 15499 (Ill. Cir. Ct.-Cook
 Cnty. Mar. 29, 2005) ($33 million for the company and personnel changes against the company's executive
 officers and board of directors), and In re Sanmina-SCI Corporation Shareholder Derivative Litigation, No.
 1:06-CV-071786 (Cal. Super. Ct.-Santa Clara May 15, 2009) (nearly $16.8 million to the company from the
 defendants and numerous corporate governance reforms, including stricter stock option plan policies). In In re
 Brocade Communications Systems, Inc. Derivative Litigation, No. 1:05-cv-041683 (Cal. Super. Ct.-Santa Clara
 Cnty. Jan. 28, 2010), Mr. Umeda served as lead counsel in shareholder derivative litigation arising out of a
 multi-year criminal stock option backdating scheme and led the firm in preventing an inadequate settlement
 that would have released defendants for no money to the company, even as the U.S. government pursued and
 ultimately obtained criminal convictions against the responsible executives. The firm was eventually retained
 by the company to assist in prosecuting its claims against certain former officers and directors.

 Mr. Umeda has been named a Super Lawyer every year since 2009, and his leadership and dedication to
 shareholder causes has also drawn recognition from judges, such the Honorable Mark R. Forcum of the
 Superior Court of California, County of San Mateo, who has observed that Mr. Umeda is "an excellent lawyer"
 who is committed "to do the best possible job he can for [his client]."

 Mr. Umeda earned his Juris Doctor in 1998 from the University of San Diego School of Law, where he was a
 member of the San Diego Law Review. Mr. Umeda graduated from the University of California, Berkeley in
 1994 with a Bachelor of Arts in Political Science. He is licensed to practice law in the State of California, and
 has been admitted to the U.S. District Courts for the Northern, Central, and Southern Districts of California and
 the District of Colorado, as well as the U.S. Courts of Appeals for the Second, Third, Fourth, Seventh, and
 Ninth Circuits.

 ASSOCIATES

 Jonathan D. Bobak
 Associate

 Jonathan Bobak is a member of the new matters practice group, where he focuses on researching and
 evaluating potential new cases and legal theories for liability and recovery, drafting complaints for clients, and
 identifying new business opportunities.

 Before joining Robbins Arroyo LLP, Mr. Bobak worked as a law clerk for a boutique San Diego law firm. Prior
 to entering law school, Mr. Bobak was a Lieutenant in the U.S. Navy, last serving as Training Officer aboard
 the guided-missile destroyer USS Milius, where he supervised and coordinated all training programs and
 events for a crew of over 240 personnel.

 Mr. Bobak received his Juris Doctor degree from the University of San Diego School of Law, where he
 completed a concentration in business and corporate law. While in law school, Mr. Bobak served as comments


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 editor of the San Diego International Law Journal, and as a judicial extern for the Honorable Mitchell D.
 Dembin of the U.S. District Court for the Southern District of California and the Honorable Alan G. Lance, Sr.
 of the U.S. Court of Appeals for Veterans Claims. Mr. Bobak graduated from Miami University with a Bachelor
 of Arts degree in International Studies and German.

 Eric M. Carrino
 Associate

 Eric M. Carrino focuses his practice on representing individual and institutional shareholders in complex
 securities litigation addressing unfair mergers and acquisitions, securities fraud, and excessive fees charged
 by mutual fund advisors.

 First joining the firm in 2011, Mr. Carrino worked as a client relations specialist before attending law school. In
 that role, he developed a passion for protecting the rights and interests of shareholders by working closely with
 the firm's clients and supporting the firm's Stock Watch program.

 Mr. Carrino is a member of the Association of Business Trial Lawyers, the Honorable William B. Enright
 American Inn of Court, and the Public Justice Foundation.

 Mr. Carrino holds a Juris Doctor degree from the University of San Diego School of Law with a concentration
 in corporate and securities law. He graduated cum laude and was the recipient of the Law Faculty Honor
 Scholarship, the Faculty Outstanding Scholar Award, and the CALI Award for Corporate Deals, among
 others. While in law school, he was a member of the San Diego Law Review and clerked for a Los Angeles-
 based aviation and aerospace law firm, as well as for Robbins Arroyo LLP. Mr. Carrino graduated cum laude
 from the University of California, Los Angeles with a Bachelor of Science degree in Political Science. He is
 licensed to practice in the State of California, and has been admitted to the Southern District of California and
 Eastern District of Wisconsin.

 Leonid Kandinov
 Associate

 Leonid Kandinov represents individual and institutional investors and consumers in complex litigation. His
 practice areas include shareholder rights, securities fraud, consumer protection, and antitrust matters.

 Mr. Kandinov currently serves the firm primarily in a business development capacity. Combining his depth of
 knowledge and passion for shareholder rights law with his approachable demeanor, Mr. Kandinov is the first
 point of contact for the firm's clients, educating clients about the litigation process and evaluating potential new
 cases. Prior to this role, Mr. Kandinov served for two years on one of the firm's litigation teams and three
 years in its new matters group, where he researched and evaluated factual and legal theories for liability and
 recovery and drafted complaints for clients. For his efforts, Mr. Kandinov has been recognized as a Super
 Lawyer Rising Star (2016-2018).

 Mr. Kandinov earned his Juris Doctor degree from the University of California at Davis School of Law, where
 he completed the Public Service Law Program. He received the Witkin Award for Academic Excellence in
 Accounting for Lawyers and was an associate editor for the Business Law Journal. He also served as a
 judicial extern for the Honorable Ronald H. Sargis at the U.S. Bankruptcy Court in the Eastern District of
 California and as a law clerk for the U.S. Attorney's Office, Southern District of California. Mr. Kandinov was
 also a summer associate and investigative analyst at Robbins Arroyo LLP. Mr. Kandinov graduated summa
 cum laude with a Bachelor of Arts in Political Science from San Diego State University and was Valedictorian
 of his class. He is licensed to practice law in the State of California, and has been admitted to the U.S. District
 Courts for the Northern, Central, and Southern Districts of California, and the U.S. Court of Appeals for the
 Ninth Circuit. Mr. Kandinov is fluent in Russian.




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 Steven M. McKany
 Associate

 Steven M. McKany dedicates his practice to representing plaintiffs in complex litigation, including shareholder
 derivative actions, consumer class actions, and antitrust litigation. Prior to joining Robbins Arroyo LLP, Mr.
 McKany was an associate at a boutique firm where he represented clients in a variety of matters, including
 complex construction defect, personal injury, and medical malpractice. Mr. McKany also worked for a law firm
 specializing in complex class and private actions related to shareholder derivative and securities litigation.

 Mr. McKany earned his Juris Doctor degree from Saint Louis University School of Law, where he graduated
 cum laude. During law school, Mr. McKany served as a legal intern for the Missouri State Public Defender and
 San Diego Public Defender's Office. Mr. McKany earned his Bachelor of Arts degree from San Diego State
 University. He is licensed to practice law in the State of California, and has been admitted to the U.S. District
 Courts for the Northern, Central, Southern, and Eastern Districts of California, and the District of Colorado.

 Steven R. Wedeking
 Associate

 Steven Wedeking has spent most of his legal career representing the interests of plaintiff clients, and currently
 concentrates his practice on shareholder rights litigation.

 Mr. Wedeking first joined Robbins Arroyo LLP in 2005 as a law school graduate. Mr. Wedeking then decided
 to strike out on his own and spent 12 years representing plaintiffs in personal injury and eviction matters. Mr.
 Wedeking has substantial litigation experience, handling cases from inception through trial. He has conducted
 arbitrations, mediations, and settlement negotiations.

 Mr. Wedeking earned his Juris Doctor degree at the University of San Diego School of Law. While in law
 school, Mr. Wedeking served on the San Diego Law Review, won Best Team in the 2004 ATLA Intramural
 Mock Trial Competition, and clerked for the Office of General Counsel of the Department of the Navy. Upon
 graduation, Mr. Wedeking was presented with the 2004 International Academy of Trial Lawyers Award for
 Excellence in Advocacy and Procedure. Mr. Wedeking received his Bachelor of Arts degree from the
 University of Texas. He is licensed to practice in the State of California, and has been admitted to the U.S.
 District Courts for the Northern, Central, and Southern Districts of California.




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